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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
W.R. Grace & Co, et al. Bankruptcy Case No. 01-01139 (AMC)
Debtor. BAP Case No. 21-00016
ceeeeeeeceeeeeeeeeeeeeennne _ |
GARY SMOLKER |
Appellant,

 

V. C.A. No. 21-460-LPS

W.R. GRACE & Co, et al Case No. 1:21-cv-00460-LPS

Appellee

Nee Nee NN Ne”

Related Document No. 3 filed 4/29/2021

 

DECLARATION OF GRAHAME ELDER IN SUPPORT OF APPELLANT
GARY SMOLKER’S EMERGENCY MOTION SEEKING MODIFICATION
OF JUNE 7, 2021 BRIEFING SCHEDULE ORDER

I, GRAHAME ELDER, make each of the following statements on the basis of my
own personal knowledge.

EXHIBIT “1”

Attached hereto as Exhibit “1” is an exact copy of an email sent by my daughter
Lauren Elder on August 16, 2021 to Appellee W.R. Grace & Co.’s (“GRACE’S”)
attorneys Roger Higgins, Laura Davis Jones, and James E. O’Neill.

In Ms. Lauren Elder’s email [attached hereto as Exhibit “1”] reference is made to
15 separate sets of exhibits mailed separately to each of those three GRACE
attorneys.

 

 
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Each set of exhibits consists of documentary evidence in support of Appellant
Gary Smolker’s (““SSMOLKER’S”) application to the court to issue an order to
extend and change dates specified in Judge Stark’s June 7, 2021 “Briefing
Schedule Order” filed on June 7, 2021 as Docket 12 in Appeal Case 1:21-CV-
0460-LPS.

A Proof of Service of each page is attached to each set of exhibits. I have looked
at each proof of service.

I have looked at all the documents contained in the 15 separate sets of exhibits.

Set of Exhibits numbered 9, 10, and 11 in Ms. Lauren Elder’s email consist of only
one exhibit each.

Item number nine consists only of Exhibit 43.
Item number 10 consists only of Exhibit 43.
Item number 11 consists only of Exhibit 44.

I have counted the number of pages of documentary evidence contained in each set
of exhibits.

I have counted the number of separate pieces of evidence contained in each
package.

I have created an Excel Spread Sheet which summarizes my observations.

Each Excel Spread Sheet states a number of a particular package of documents
referred to in Ms. Lauren Elder’s email.

The first column in each of the attached exhibits contains a number corresponding
to the number in the attached email from Ms. Lauren Elder to GRACE’S attorneys.

The column to the right of each package number is the name stated in the attached
email to GRACE’S attorneys.

 

 
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The column to the right of the description of the documents is the stated the
number of pages of documentary evidence I personally counted in that particular
package of documents.

The column to the right of my statement of the number of pages of evidence I
personally observed contained in each group of exhibits is the number of pieces of
documentary evidence I personally counted in that particular group of exhibits.

The column to the right of my representation of the number of pages of
documentary evidence I personally observed in the group of exhibits is stated the
date stated of service on which Ms. Lauren Elder, or myself, personally served the
attached group of documents separately on each of GRACE’S three attorneys.

The names of the three GRACE attorneys stated on each proof of service are:
Roger Higgins, Esq., Laura Davis Hones, Esq., and James E. O’ Neill, Esq.

The address of each attorney is stated on each proof of service.

EXHIBIT “2”
Exhibit “2” lists five packages containing Declarations of Lauren Elder served
separately on each GRACE’S three attorneys as well as the information described

above.

A total of 272 (two hundred seventy-two) pieces of evidence personally served by
Ms. Lauren Elder on GRACE”S three attorneys are referred to in Exhibit 2.

EXHIBIT “3”

Exhibit “3” lists eight packages of Exhibits served separately on each GRACE’S
three attorneys as well as the information described above.

Ms. Lauren Elder personally served seven of those packages separately on each of
GRACBE’S three attorneys.

I personally served one of those packages of documents separately on GRACE’s
three attorneys.
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A total of 331 (three hundred thirty-one) separate pieces of evidence are referred to
in Exhibit “3.”

I declare under penalty of perjury under the laws of the United States that the
foregoing is true and correct.

Executed on August 27, 2021 at Encino, California.

Grahame Elder

  
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EXHIBIT “1°

 

 
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From: Lauren Elder <laurenashleye@gmail.com>

Date: Mon, Aug 16, 2021 at 6:01 PM
Subject: Emergency Motion for More Time to File Pleadings in Case Number: 1:21-cv-00460-LPS

To: <rhiggins@rogerhigginslaw.com>, <ljones@pszjlaw.com>, <joneill@pszjlaw.com>
CC: Gary Smolker <Gsmolker@aol.com>

 

 

Mr. Higgins, Ms. Jones and Mr. O’Neill:

You have been served individually and separately by U.S. mail at the following addresses:
Law Offices of Roger Higgins, LLC 516 North Ogden Avenue, Suite 136 Chicago, IL 60642;
James E. O’Neill, Esq., Pachulski Stang Ziehl and Jones LLC 919 North Market Street - 17th
Floor Wilmington, DE 19899; and Laura Davis Jones, Esq.,Pachulski Stang Ziehl and Jones
LLC 919 North Market Street - 17th Floor Wilmington, DE 19899 with the following documents
on the date set forth after the document.

1. DECLARATION OF LAUREN ELDER IN SUPPORT OF MOTION TO CHANGE

BRIEFING SCHEDULE, ETC.
[Photographs taken on May 19 and May 20, 2021 by Lauren Elder]

Served on: June 30, 2021

2. DECLARATION OF LAUREN ELDER IN SUPPORT OF MOTION TO CHANGE

BRIEFING SCHEDULE, ETC.
[Gary Smolker’s Additional Living Expenses in the Time Period May 14, 2021 through

June 25, 2021]

Served on: June 30, 2021

3. JULY 22, 2021 DECLARATION OF LAUREN ELDER IN SUPPORT OF MOTION

TO CHANGE BRIEFING SCHEDULE, ETC.]
[Gary Smolker’s Additional Living Expenses in the Time Period May 14, 2021 through

July 22, 2021]
Served on: July 2, 2021

4. AUGUST 2, 2021 DECLARATION OF LAUREN ELDER IN SUPPORT OF
MOTION TO CHANGE BRIEFING SCHEDULE, ETC.]

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[Gary Smolker’s Additional Living Expenses in the Time Period May 14, 2021 through
August 2, 2021] .

Served on: August 2, 2021

EXHIBITS REFERRED TO IN DECLARATIONOF GARY SMOLKER IN SUPPORT OF
EMERGENCY MOTION SEEKING MODIFICATION OF JUNE 7, 2021 BRIEFING

SCHEDULE ORDER, ETC.
[ EXHIBITS 1-21]

Served.on: July 3, 2021

EXHIBIT 22: REFERRED TO IN DECLARATION OF GARY SMOLKER IN
SUPPORT OF EMERGENCY MOTION SEEKING MODIFICATION OF JUNE 7, 2021

BRIEFING SCHEDULE ORDER, ETC.

Served on: July 30, 2021

. EXHIBITS 23-32: REFERRED TO IN DECLARATION OF GARY SMOLKER IN

SUPPORT OF EMERGENCY MOTION SEEKING MODIFICATION OF JUNE 7, 2021
BRIEFING SCHEDULE ORDER, ETC.

Served on: July 30, 2021

. EXHIBITS 33-42(D): REFERRED TO IN DECLARATION OF GARY SMOLKER IN

SUPPORT OF EMERGENCY MOTION SEEKING MODIFICATION OF JUNE 7, 2021
BRIEFING SCHEDULE ORDER, ETC.

Served on: August 2, 2021

. EXHIBIT 43: In Mr. Roger Higgins (“HIGGINS”) in a June 1, 2021 ex-parte written

communication with Judge Stark, HIGGINS states, “On May 31, 2021, Mr. Smolker
responded with three pieces of email correspondence. See attachments 3 (without
attachment), 4 (without attachment) & 5. HIGGINS also states, “The attachments to Mr.
Smolker’s two emails are a pair of letters regarding Mr. Smolker’s insurance claim.
Together they total more than 140 pages of information not relevant to the Scheduling
Motion, this Court’s Order, or the appellate briefing schedule.” Exhibit 43 is a copy ofa
May 28, 2021 letter to State Farm Claims Adjuster, Mirek Robak, which HIGGINS did not

attach to HIGGIN’S June 1, 2021 letter to Judge Stark.

The May 28, 2021 letter which Higgins did not attach is 81 pages in length. It includes
medical documentation regarding the condition of Mr. Smolker’s lungs, the condition of
Mr. Smolker’s health, and an analysis of air samples taken in Mr. Smolker’s rental unit on

May 20, 20210.
Served on: August 2, 2021

2/4

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10. EXHIBIT 44: Exhibit “44” is another attachment HIGGINS failed to include in HIGGINS
June 1, 2021 written ex parte communication with Judge Stark. Exhibit 44 is a 52 page
letter to State Farm sent via email on May 17, 2021. .

Served on: August 2, 2021

11. EXHIBIT 45: Emergency Cardiac Catheterization Report made by Christopher E. Buller,
MD on September 14, 2013. Mr. Smolker had a heart attack

Served on: August 2, 2021

12. EXHIBIT 46-55: Referred to in Declaration of Gary Smolker in support of Emergency
Motion seeking modification of June 7, 2021 Briefing Schedule Order, etc.

Served on: August 6, 2021

13. EXHIBIT 56-67: Referred to in Declaration of Gary Smolker in support of Emergency
Motion seeking modification of June 7, 2021 Briefing Schedule Order, etc.

Served on: August 6, 2021

14. EXHIBIT 68-96: Referred to in Declaration of Gary Smolker in support of Emergency
Motion seeking modification of June 7, 2021 Briefing Schedule Order, etc.

Served on: August 6, 2021

15. August 11, 2021 Declaration of Lauren Elder in Support of Emergency Motion seeking
Modification of June 7, 2021 Briefing Schedule Order, etc.

Served on: August 11, 2021

It is Appellant Gary Smolker’s position that each of the above set of documents is factual
evidence that supports Mr. Smolker application for more time to do the acts specified in Judge
Stark’s June 21, 2021 Order Re Briefing Schedule, including more time to submit an amended
Designation of Record on Appeal and Statement of Issues on Appeal, more time to submit a
motion to supplement the record on appeal, and more time to file Appellant Gary Smolker’s

Opening Brief.

It is Mr. Smolker’s position that W.R. Grace & Co.’s bullying and your fraudulent conduct has
forced Mr. Smolker to pay $19,232.91 to Courtyard by Marriott in Woodland Hills.

It is Mr. Smolker’s position that unless Mr. Smolker’s request for more time is granted Mr.
Smolker will be forced to unnecessarily pay more money to Courtyard by Marriott.

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sr2ai2021 Case 1:21-cv-00480- EPS" Bocument 3B ed O8/S0/21 Page, 9 of 14 Pagal #3
Mr. Smolker is still preparing his motion requesting more time to do the acts spect 1éd ‘in Fildge

Stark’s June 21, 2021 order.
Mr. Smolker will let you know when he has finished preparing that motion.

Very Truly yours, |
Lauren Elder, Assistant to Appellant Gary Smolker

Sent from Gmail Mobile

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EXHIBIT “2”

 

 

 
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Item

Declaration of Lauren Elder

Pages

Pieces of
evidence

Date of Service

 

DECLARATION OF LAUREN ELDER IN SUPPORT OF MOTION
TO CHANGE BRIEFING SCHEDULE, ETC.
[Photographs taken on May 19 and May 20, 2021 by Lauren Elder]

115

113

June 30, 2021

 

DECLARATION OF LAUREN ELDER IN SUPPORT OF MOTION
TO CHANGE BRIEFING SCHEDULE, ETC.

[Gary Smolker’s Additional Living Expenses in the Time Period
May 14, 2021 through June 25, 2021]

90

76

June 30, 2021

 

DECLARATION OF LAUREN ELDER IN SUPPORT OF MOTION
TO CHANGE BRIEFING SCHEDULE, ETC.

[Gary Smolker’s Additional Living Expenses in the Time Period
May 14, 2021 through July 22, 2021]

49

30

July 2, 2021

 

DECLARATION OF LAUREN ELDER IN SUPPORT OF MOTION
TO CHANGE BRIEFING SCHEDULE, ETC.

[Gary Smolker’s Additional Living Expenses in the Time Period
May 14, 2021 through August 2, 2021]

40

25

August 2, 2021

 

15

In motion to change Briefing Schedule August 11, 2021 Declaration of Lauren Elder
in Support of Emergency Motion seeking Modification of
June 7, 2021 Briefing Schedule Order, etc.

39

28

August 11, 2021

 

 

 

Totals

 

 

333

 

272

 

 

 
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EXHIBIT “3”

 
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Item Exhibit Numbers Pages Pieces of Date of Service
evidence
5 1-21 115 92 July 3, 2021
6 22 69 68 July 30, 2021
7 23-32 19 19 July 30, 2021
8 33 - 42 (D) 20 20| August 2, 2021
9 43 83 14| August 2, 2021
10 44 53 43| August 2, 2021
11 45 5 1| August 2, 2021
12 46-55 22 10| August 6, 2021
13 56 - 67 83 30| August 6, 2021
14 68 - 96 39 18| August 6, 2021
Totals 1-96 508 315

 

 

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE
Case No. 21-00987 - LPS

I am a resident of the State of California, over the age of eighteen years, and not a
party to this action. My business address is 16055 Ventura Blvd., Suite 525,
Encino, CA 91436.

On August 27, 2021, I served the following titled and attached document:
DECLARATION OF GRAHAME ELDER IN SUPPORT OF APPELLANT
GARY SMOLKER’S EMERGENCY MOTION SEEKING MODIFICATION
OF JUNE 7, 2021 BRIEFING SCHEDULE ORDER

X_ VIA MAIL, by placing a true copy of the document listed above in a sealed
envelope with postage fully prepaid in United States mail in the State of California,

at Encino, California, addressed as set forth below:

Law Offices of Roger Higgins, LLC, Attention Roger Higgins Esq., 516 North
Ogden Ave., Suite 136, Chicago, Illinois 61642, USA

Pachulski Stang Ziehl & Jones, LLP, Attention James E. O’Neill, Esq., 919 North
Market Street, 17" floor, Wilmington, Delaware 19899-8705

Pachulski Stang Ziehl & Jones, LLP, Attention Laura Davis Jones, Esq., 919 North
Market Street, 17" floor, Wilmington, Delaware 19899-8705

Executed on August 27, 2021, at Encino, California.

I declare under penalty of perjury under the laws of the United States that the

 

Grahame Elder

 
